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                         EXHIBIT A
                                                              Case: 1:22-cv-01272 Document #: 29-1 Filed: 04/11/23 Page 2 of 14 PageID #:165
                                                                                                                                                                                                      Did any part of the Complaint
                                                                                Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed   Name                                     Court     Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes

  1/7/2020 Darby v. Prairie Farms Dairy, Inc.         nysdc     1:2020cv00151   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Collishaw v. Cooperative Regions of
 1/12/2020 Organic Producer Pools                     nysdc     7:2020cv00277   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/18/2020 Pichardo v. Only What You Need, Inc.       nysdc     1:2020cv00493   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 1/19/2020 Sanders v. Trader Joe's Company            nysdc     1:2020cv00496   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/21/2020 Figueroa v. Trader Joe's Company           nyedc     1:2020cv00322   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 1/23/2020 Batchelor v. The Coca‐Cola Company         nysdc     7:2020cv00594   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 1/27/2020 Papoulis v. Pacific Foods of Oregon, LLC   nyedc     1:2020cv00432   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/27/2020 Powell v. Dollar Tree Stores, Inc.         nysdc     1:2020cv00734   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 1/28/2020 Twohig v. Shop‐Rite Supermarkets, Inc.     nysdc     7:2020cv00763   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 1/31/2020 Bergeron v. Grindr Inc.                    nysdc     7:2020cv00875   yes                           Motion to Compel Arbitration yes                           yes                          no                             y                                 370

  2/1/2020 Brown v. Walgreen Co.                      nysdc     7:2020cv00891   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
                                                                                                              Motion to Transfer and
  2/1/2020 Gonzalez v. Gojo Industries, Inc.          nysdc     1:2020cv00888   yes                           Consolidate                   yes                          yes                          n/a                            y                                 370

  2/3/2020 Swantek v. Save‐A‐Lot Holdings, Inc.       nysdc     7:2020cv00894   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

  2/7/2020 Hamilton v. Orgain, Inc.                   nysdc     1:2020cv01084   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  2/8/2020 Salerno v. The Coca‐Cola Company           nyedc     1:2020cv00711   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

  2/9/2020 Taylor v. Tipp Distributors, Inc.          nyedc     1:2020cv00712   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 2/10/2020 Civello v. Conopco, Inc.              nysdc          1:2020cv01173   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Campbell v. Whole Foods Market Group,
 2/13/2020 Inc.                                  nysdc          1:2020cv01291   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

 2/18/2020 Budhani v. Monster Beverage Company        nysdc     1:2020cv01409   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 2/23/2020 Kyszenia v. The Hain Celestial Group, Inc. nyedc     1:2020cv00979   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 2/26/2020 Hiland v. Whole Foods Market Group, Inc. nysdc       7:2020cv01680   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Angeles v. Tillamook County Creamery
 2/28/2020 Association                              nysdc       1:2020cv01764   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  3/1/2020 Ithier v. Frito‐Lay North America, Inc.    nysdc     7:2020cv01810   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  3/6/2020 Spitzer v. Celestial Seasonings, Inc.      nysdc     1:2020cv02000   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  3/8/2020 Webber v. McDonald's Corporation           nysdc     7:2020cv02058   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 3/10/2020 Ferreri et al v. Chobani, LLC              nysdc     1:2020cv02161   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 3/12/2020 Lamonakis v. Blue Diamond Growers          nyedc     1:2020cv01347   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Cohen et al v. Wegmans Food Markets,
 3/16/2020 Inc.                                       nyedc     1:2020cv01409   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 3/19/2020 Cruz v. D F Stauffer Biscuit Co Inc        nysdc     1:2020cv02402   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 3/22/2020 Colpitts v. Blue Diamond Growers           nysdc     1:2020cv02487   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

 3/24/2020 Gilleo v. The J. M. Smucker Company        nysdc     7:2020cv02519   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 3/25/2020 Golden III v. Popular, Inc.                nysdc     1:2020cv02573   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

 3/29/2020 Rodriguez v. 7‐Eleven, Inc.                nysdc     1:2020cv02636   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  4/5/2020 Buonocore v. Aldi Inc.                     nyedc     1:2020cv01699   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  4/6/2020 Ali et al v. All Market, Inc.              nysdc     7:2020cv02823   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  4/6/2020 Miller v. Wegmans Food Markets, Inc.       nyedc     1:2020cv01703   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370


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                                                                                                                                                                                                        Did any part of the Complaint
                                                                                  Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed Name                                         Court     Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes
           Rankin v. Arca Continental S.A.B. de C.V.
  4/9/2020 et al                                        nyedc     1:2020cv01756   yes                           Motion to Dismiss             no/Magistrate R & R          n/a                          n/a                            n                                 370
           Santiful et al v. Wegmans Food Markets,
  4/9/2020 Inc.                                         nysdc     7:2020cv02933   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 4/11/2020 Bardsley v. Nonni's Foods LLC                nysdc     7:2020cv02979   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

 4/13/2020 Tinelli v. Costco Wholesale Corporation      nysdc     1:2020cv02983   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 4/15/2020 Biegel v. Blue Diamond Growers               nysdc     7:2020cv03032   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 4/19/2020 Ring v. Pervine Foods, LLC                   nyedc     1:2020cv01852   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 4/20/2020 Dailey v. A&W Concentrate Company et al candc          4:2020cv02732   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

 4/21/2020 Vizcarra v. Unilever United States, Inc.     candc     4:2020cv02777   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

 4/24/2020 Caudel v. Amazon.Com, Inc.                   caedc     2:2020cv00848   yes                           Motion to Dismiss             yes                          yes                          yes                            n                                 370

 4/26/2020 Mangone et al v. Hals Beverage LLC           nysdc     7:2020cv03267   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 4/27/2020 Nunez v. Unilever United States, Inc.        cacdc     2:20‐cv‐03846   no                            n/a                           n/a                          n/a                          n/a                            n                                 370

 4/30/2020 Hee v. H Mart, Inc.                          candc     3:2020cv02960   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

  5/7/2020 Carmen Rivera v. S. C. Johnson & Son, Inc. nysdc       1:2020cv03588   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           IN RE: S.C. JOHNSON & SON, INC. WINDEX
  5/8/2020 NON‐TOXIC LITIGATION                       candc       4:2020cv03184   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

 5/12/2020 Clark v. Westbrae Natural, Inc.              candc     3:2020cv03221   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

 5/15/2020 Sharma v. Wegmans Food Markets, Inc.         nyedc     1:2020cv02210   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 5/17/2020 Kyszenia v. Ricoh USA, Inc.                  nyedc     1:2020cv02215   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 5/18/2020 Mahan v. Kerry, Inc.                         candc     3:2020cv03346   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

 5/24/2020 Sencen v. Froneri US, Inc.                   nysdc     7:2020cv04024   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 5/27/2020 Toth v. SC Johnson & Son, Inc.               candc     3:2020cv03553   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

 5/29/2020 Falborn v. Unilever United States, Inc.      nysdc     7:2020cv04138   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  6/1/2020 Miller v. TC Heartland LLC                   nysdc     1:2020cv04182   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Sajnani et al v. The Hain Celestial Group,
  6/4/2020 Inc.                                         nysdc     1:2020cv04281   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  6/7/2020 Cleary v. Wakefern Food Corp.                nyedc     1:2020cv02537   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 367

  6/8/2020 Guzman v. Aldi Inc.                          nyedc     1:2020cv02550   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  6/8/2020 McDougle et al v. SC Johnson & Son Inc       wiedc     2:2020cv00869   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

  6/9/2020 Lepore v. Molekule, Inc.                     nyedc     2:2020cv02571   yes                           Motion to Compel Arbitration yes                           yes                          no                             y                                 370

 6/10/2020 Waddell v. SC Johnson & Son, Inc.            candc     4:2020cv03820   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

 6/12/2020 Mena v. Conagra Brands, Inc.                 nysdc     1:2020cv04505   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
                                                                                                                                                                                                                                                                             case continues against
 6/12/2020 Greer et al v. Hagen                         tnedc     3:2020cv00262   yes                           Motion to Dismiss             yes                          yes                          yes                            n                                 370 defendant which did not file

 6/22/2020 Williams v. Walmart Inc.                     nyedc     1:2020cv02768   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 6/24/2020 Sommer v. Snapple Beverage Corporation candc           4:2020cv04181   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370
           Marsella et al v. The Hain Celestial Group,
 6/26/2020 Inc.                                        nysdc      1:2020cv04936   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  7/1/2020 Gil v. The Coca‐Cola Company                 nysdc     1:2020cv05064   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  7/5/2020 Jolly v. Quest Nutrition, LLC                nysdc     7:2020cv05125   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  7/7/2020 Gaskell et al v. Chobani, LLC                nysdc     7:2020cv05199   yes                           Motion to Consolidate         no                           n/a                          n/a                            y                                 370

  7/8/2020 Salerno v. The Coca‐Cola Company             nysdc     7:2020cv05235   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

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                                                                                                                                                                                                      Did any part of the Complaint
                                                                                Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed   Name                                    Court      Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes

 7/11/2020 Fisher v. Whole Foods Market Group, Inc. nysdc       1:2020cv05339   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 7/13/2020 Weintz v. Pacific Foods of Oregon, LLC    nysdc      1:2020cv05385   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  8/8/2020 Duffy v. Lidl US, LLC                     nyedc      1:2020cv03578   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  8/9/2020 James v. Hostess Brands, LLC              nysdc      1:2020cv06259   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 8/13/2020 Andino v. Apple, Inc.                     caedc      2:20‐cv‐01628   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

 8/14/2020 Rosenfeld v. Trader Joe's Company         nyedc      1:2020cv03717   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 8/17/2020 Watson v. Dietz & Watson, Inc.            nysdc      1:2020cv06550   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 8/20/2020 Cole v. The Procter & Gamble Company      nysdc      7:2020cv06680   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 8/24/2020 Wallace v. Wise Foods, Inc.               nysdc      1:2020cv06831   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Angeles v. GlaxoSmithKline Consumer
 8/25/2020 Healthcare L.L.C.                         nysdc      1:2020cv06883   yes                           Motion to Dismiss/Stay        no                           n/a                          n/a                            y                                 370

 8/25/2020 Bynum v. Family Dollar Stores, Inc.       nysdc      1:2020cv06878   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 8/26/2020 Chung v. Pure Fishing, Inc.                nyedc     1:2020cv03983   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Harrisingh v. Naked Juice Co. of Glendora,
 8/29/2020 Inc.                                       nyedc     1:2020cv04036   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  9/4/2020 Briley v. Sara Lee Frozen Bakery, LLC     nysdc      7:2020cv07276   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  9/5/2020 Brown v. Kellogg Sales Company            nysdc      1:2020cv07283   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 9/11/2020 LaRocca v. Frito‐Lay, Inc.                nyedc      1:2020cv04245   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 9/11/2020 Parmely et al v. The Golub Corporation    nysdc      7:2020cv07491   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 9/12/2020 Magnuson et al v. The Price Chopper, Inc. nysdc      7:2020cv07497   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 9/12/2020 Nelson v. ITO EN (North America) Inc.     nysdc      7:2020cv07496   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 9/13/2020 Carter v. Nestle USA, Inc.                nysdc      7:2020cv07498   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 9/14/2020 Green v. Nestle Holdings, Inc.            nysdc      1:2020cv07499   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 9/17/2020 Harris v. McDonald's Corporation          candc      3:2020cv06533   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

 9/21/2020 Ynfante v. Fairlife LLC                   nysdc      7:2020cv07776   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 9/26/2020 Figueroa v. Fairlife LLC                  nyedc      1:2020cv04584   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 9/26/2020 Lugo v. Celestial Seasonings, Inc.        nyedc      1:2020cv04580   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 9/26/2020 Goldstein v. Sally Beauty Supply LLC      nyedc      1:2020cv04583   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 9/27/2020 Fahey v. Whole Foods Market, Inc.         candc      4:2020cv06737   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

 10/9/2020 Jones v. Orgain, LLC                      nysdc      7:2020cv08463   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/11/2020 Klausner v. Annie's, Inc.                 nysdc      7:2020cv08467   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Mitchell v. Whole Foods Market Group,
10/12/2020 Inc.                                      nysdc      1:2020cv08496   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/12/2020 Myers v. Wakefern Food Corp.              nysdc      7:2020cv08470   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/13/2020 Chung et al v. Igloo Products Corp.       nyedc      1:2020cv04926   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/13/2020 Yu v. Froneri US, Inc.                    nysdc      1:2020cv08512   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/17/2020 Wargo v. The Hillshire Brands Company     nysdc      7:2020cv08672   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

10/18/2020 Brienza v. The Coca‐Cola Company      nysdc          7:2020cv08676   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Warren v. The Stop & Shop Supermarket
10/19/2020 Company LLC                           nysdc          7:2020cv08718   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370


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                                                                                                                                                                                                        Did any part of the Complaint
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           Turnipseed v. Simply Orange Juice
10/19/2020 Company                                      nysdc     7:2020cv08677   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/20/2020 Robie v. Trader Joe's Company                candc     4:2020cv07355   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

10/23/2020 Nacarino v. Chobani, LLC                     candc     3:2020cv07437   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

10/25/2020 Bradshaw v. Blue Diamond Growers             nyedc     1:2020cv05125   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

10/25/2020 Boswell v. Bimbo Bakeries USA, Inc.          nysdc     1:2020cv08923   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Collishaw v. Cooperative Regions of
10/27/2020 Organic Producer Pools                       nysdc     7:2020cv09009   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/28/2020 Farve v. Blue Diamond Growers                candc     4:2020cv07570   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

10/28/2020 Kamara v. Pepperidge Farm, Incorporated nysdc          1:2020cv09012   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/29/2020 Prater v. Arizona Beverages USA LLC          nysdc     1:2020cv09108   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

10/29/2020 Gonzalez v. Gojo Industries, Inc.            ohndc     5:2020cv02448   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

10/31/2020 Zachmann v. The Coleman Company Inc. nysdc             7:2020cv09146   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 11/1/2020 Alexander v. Wegmans Food Markets, Inc. nysdc          7:2020cv09148   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

11/13/2020 Seaman et al v. Kellogg Company          nyedc         1:2020cv05520   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Chung et al v. American Zurich Insurance
11/14/2020 Company                                  nyedc         1:2020cv05555   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

11/14/2020 Gordon v. Target Corporation                 nysdc     7:2020cv09589   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Palmieri v. Mead Johnson & Company,
11/15/2020 LLC                                          nysdc     7:2020cv09591   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

11/15/2020 Gavilanes v. Gerber Products Company         nyedc     1:2020cv05558   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

11/16/2020 Tropp, Stacey v. Prairie Farms Dairy, Inc.   wiwdc     3:2020cv01035   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

11/17/2020 Kushner v. Monster Energy Company            nyedc     1:2020cv05606   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

11/18/2020 Brown v. Kerry Inc.                          nysdc     1:2020cv09730   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           McGinity v. The Proctor & Gamble
11/19/2020 Company                                      candc     3:20‐cv‐08164   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

11/22/2020 Prescott v. Nestl Holdings, Inc.             nyedc     1:2020cv05683   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

11/22/2020 Smith v. Abbott Laboratories Inc.       nyedc          1:2020cv05684   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Brown v. Mars Wrigley Confectionery US,
11/24/2020 LLC                                     candc          4:2020cv08292   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

11/27/2020 Schelmetty v. Heineken USA Incorporated nysdc          7:2020cv09985   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

11/29/2020 Waldon et al v. Credit One Bank, N.A.        nysdc     7:2020cv10003   yes                           Motion to Compel Arbitration no                            n/a                          n/a                            y                                 370

 12/3/2020 Nason v. Inventure Foods, Inc.               nysdc     7:2020cv10141   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 12/6/2020 Salony v. VMG Partners, LLC                  nysdc     7:2020cv10273   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 12/6/2020 Sanchez v. Avadim Health, Inc.               nysdc     1:2020cv10272   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 12/9/2020 Jones v. Dietz & Watson, Inc.                nyedc     1:2020cv06018   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

12/14/2020 Dill v. Under Armour, Inc.                   nyedc     1:2020cv06066   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

12/19/2020 Ferguson v. Duracell U.S. Operations, Inc. nysdc       7:2020cv10734   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Akridge v. Whole Foods Market Group,
12/23/2020 Inc.                                       nysdc       1:2020cv10900   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

12/25/2020 Galinsky v. King's Hawaiian LLC              nysdc     7:2020cv10931   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

12/25/2020 Glover v. Bobs Discount Furniture, LLC       nysdc     1:2020cv10924   yes                           Motion to Compel Arbitration yes                           yes                          no                             y                                 370

12/26/2020 Moncure v. 7‐Eleven, Inc.                    nysdc     1:2020cv10935   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370


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                                                                                                                                                                                                         Did any part of the Complaint
                                                                                   Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed   Name                                        Court     Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes

12/27/2020 Paydar v. William Grant & Sons, Inc.          nysdc     1:2020cv10937   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

12/31/2020 Brietzke et al v. Chobani, LLC                nysdc     1:2020cv11097   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Beers v. Mars Wrigley Confectionery US,
  1/1/2021 LLC                                           nysdc     7:2021cv00002   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

  1/6/2021 Newton v. Orgain Management, Inc.             nyedc     1:2021cv00062   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  1/7/2021 Glancey v. Trek Bicycle Corporation           nysdc     7:2021cv00120   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  1/8/2021 Pizarro v. Ferrara Candy Company              nysdc     7:2021cv00151   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  1/9/2021 Nieves v. The Procter & Gamble Company nysdc            7:2021cv00186   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 1/10/2021 Sibirtzeff v. Royal Appliance Mfg. Co.        nysdc     7:2021cv00192   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/11/2021 Socol v. 7‐Eleven, Inc.                       nysdc     7:2021cv00194   no                            n/a                           n/a                          n/a                          n/a                            y                                 365

 1/12/2021 Turk v. Rubbermaid Incorporated               nysdc     7:2021cv00270   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

 1/13/2021 Binns v. HP Hood LLC                          nysdc     7:2021cv00319   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Werner v. Nestle Healthcare Nutrition,
 1/17/2021 Inc.                                          nysdc     7:2021cv00408   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 1/21/2021 Lyons v. Royal Oak Enterprises, LLC.    nysdc           7:2021cv00524   no                            n/a                           n/a                          n/a                          n/a                            n                                 370
           Lyons v. Mars Wrigley Confectionery US,
 1/23/2021 LLC                                     nysdc           7:2021cv00620   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/23/2021 Mantini et al v. Icelandic Provisions, Inc.   nysdc     7:2021cv00618   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

 1/27/2021 Fleischer v. Aldi Inc.                        nyedc     1:2021cv00443   no                            n/a                           n/a                          n/a                          n/a                            y                                 385

  2/1/2021 Dolson v. The Procter & Gamble Company        nysdc     7:2021cv00868   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Lee v. The Kingsford Products Company,
  2/2/2021 LLC                                           nysdc     7:2021cv00924   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Thomas et al v. Beech‐Nut Nutrition
  2/5/2021 Company                                       nyndc     1:2021cv00133   n/a                           n/a                           n/a                          n/a                          n/a                            n                                 370
           Thomas et al v. Beech‐Nut Nutrition
  2/5/2021 Company                                       jpmldc    1:2021cv00133   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370 lead case

  2/6/2021 Marcinelli v. Kraft Heinz Foods Company       nysdc     7:2021cv01075   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

  2/7/2021 Cavallero v. G.T Japan, Inc.                  nysdc     7:2021cv01077   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           In re Hain Celestial Heavy Metals Baby
  2/8/2021 Food Litigation                               jpmldc    2:2021cv00678   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370
  2/8/2021 Suriano v. Nestle USA, Inc.                   ilndc     1:2021cv00717   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           In re Hain Celestial Heavy Metals Baby
  2/8/2021 Food Litigation                               nyedc     2:2021cv00678   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370
  2/8/2021 Zahora v. Orgain, LLC                         ilndc     1:2021cv00705   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           In re Hain Celestial Heavy Metals Baby
  2/8/2021 Food Litigation                               nyedc     2:21‐cv‐00678   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

 2/10/2021 In re Nurture Baby Food Litigation            nysdc     1:2021cv01217   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

 2/10/2021 Carter v. Ralph Lauren Corporation            nysdc     1:2021cv01202   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Schoonmaker v. Cape Cod Potato Chip
 2/11/2021 Company, LLC                                  nysdc     7:2021cv01224   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 2/11/2021 Soto v. Nurture, Inc.                         jpmldc    1:2021cv01271   yes                           Motion to Consolidate         yes                          yes                          n/a                            y                                 370

 2/11/2021 Soto v. Nurture, Inc.                         nysdc     1:2021cv01271   yes                           Motion to Consolidate         yes                          yes                          n/a                            y                                 370
 2/13/2021 Micks v. The Hain Celestial Group, Inc.       ilndc     1:2021cv00835   yes                           Motion to Transfer            no                           n/a                          n/a                            y                                 370

 2/13/2021 Micks v. The Hain Celestial Group, Inc.       jpmldc    1:2021cv00835   yes                           Motion to Transfer            no                           n/a                          n/a                            y                                 370

 2/18/2021 Puri v. Costco Wholesale Corporation          candc     5:2021cv01202   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

 2/19/2021 Babb v. Zarbee's, Inc.                     nysdc        7:2021cv01493   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 2/19/2021 Kuciver v. Nestle Healthcare Nutrition,    ilndc        1:2021cv00936   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 2/21/2021 Anderson v. The Hain Celestial Group, Inc. codc         1:2021cv00500   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 2/21/2021 Anderson v. The Hain Celestial Group, Inc. jpmldc       1:2021cv00500   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

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                                                                                                                                                                                                       Did any part of the Complaint
                                                                                 Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed Name                                        Court     Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes
           McCauley v. Cooperative Regions of
 2/21/2021 Organic Producer Pools                      nysdc     7:2021cv01548   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 2/22/2021 Kekish v. Whole Foods Market Group, Inc.    nysdc     7:2021cv01562   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 2/25/2021 Gierwatowski v. Trader Joe's Company        ilndc     1:2021cv01119   yes                           Motion to Transfer            yes                          yes                          no                             y                                 370
           Lopez‐Sanchez v. The Hain Celestial
 2/26/2021 Group, Inc.                                 jpmldc    2:2021cv01045   no                            Motion to Consolidate (P)     yes                          yes                          n/a                            y                                 370
           Lopez‐Sanchez v. The Hain Celestial
 2/26/2021 Group, Inc.                                 nyedc     2:2021cv01045   no                            Motion to Consolidate (P)     yes                          yes                          n/a                            y                                 370

 2/27/2021 Hoover v. The Price Chopper, Inc.           nyndc     1:2021cv00228   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 2/28/2021 Kinman v. The Kroger Co.                    ilndc     1:2021cv01154   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

  3/4/2021 Gancarz v. Beech‐Nut Nutrition Company jpmldc         1:2021cv00258   yes                           Motion to Consolidate (P)     n/a                          yes                          n/a                            y                                 370

  3/4/2021 Gancarz v. Beech‐Nut Nutrition Company nyndc          1:2021cv00258   yes                           Motion to Consolidate (P)     n/a                          yes                          n/a                            y                                 370

  3/7/2021 Fryar v. Moon Active Ltd.                   nysdc     7:2021cv01977   yes                           Motion to Compel Arbitration no                            n/a                          n/a                            y                                 370

 3/19/2021 Ablaza, et al. v. Sanofi‐Aventis U.S. LLC   candc     4:2021cv01942   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370
           Aitana Vargas et al v. Elanco Animal
 3/22/2021 Health Incorporated                         jpmldc    2:2021cv02506   n/a                           n/a                           n/a                          n/a                          n/a                            n                                 370
           Aitana Vargas et al v. Elanco Animal
 3/22/2021 Health Incorporated                         cacdc     2:2021cv02506   yes                           Motion to Transfer            yes                          yes                          yes                            n                                 370

 3/26/2021 Guerriero v. Sony Electronics Inc.          nysdc     7:2021cv02618   yes                           Motion to Compel Arbitration yes                           yes                          no                             y                                 370
           Anderson et al v. The Hain Celestial                                                                                                                                                                                                                             In re Hain Celestial Heavy
 3/26/2021 Group, Inc.                                 jpmldc    2:2021cv01621   yes                           Motion to Consolidate         yes                          yes                          n/a                            y                                 370 Metals Baby Food Litigation
           Anderson et al v. The Hain Celestial                                                                                                                                                                                                                             In re Hain Celestial Heavy
 3/26/2021 Group, Inc.                                 nyedc     2:2021cv01621   yes                           Motion to Consolidate         yes                          yes                          n/a                            y                                 370 Metals Baby Food Litigation

 4/10/2021 Anderson v. Unilever United States, Inc.    nysdc     7:2021cv03117   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

 4/11/2021 Kelly v. Whole Foods Market Group, Inc. nysdc         1:2021cv03124   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Brown v. Mars Wrigley Confectionery US,
 4/14/2021 LLC                                     nyedc         1:2021cv01996   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370
                                                                                                                                                                                                                                                                            4:21‐cv‐01942 ‐ Ablaza, et al. v.
 4/16/2021 Fuller v. Chattem, Inc.                     nysdc     7:2021cv03386   yes                           Motion to Transfer            yes                          yes                          yes                            y                                 370 Sanofi‐Aventis U.S. LLC
           Adoni v. Citicorp Credit Services, Inc.                                                                                                                        n/a; Court seeks more info   n/a; Court seeks more info
 4/18/2021 (USA)                                       nyedc     2:2021cv02108   yes                           Motion to Compel Arbitration yes                           from defendant               from defendant                 y                                 370
 4/22/2021 Wach et al v. Prairie Farms Dairy, Inc.     ilndc     1:2021cv02191   yes                           Motion to Dismiss            yes                           yes                          no                             y                                 370

 4/24/2021 Smith v. Apple Inc.                         nysdc     1:2021cv03657   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Lemke, Christopher v. Kraft Heinz Foods
 4/25/2021 Company                                     wiwdc     3:2021cv00278   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
                                                                                                                                                                                                                                                                            4:21‐cv‐01942 ‐ Ablaza, et al. v.
  5/1/2021 Cruz v. Sanofi US Corporation               ilndc     1:2021cv02351   yes                           Motion to Transfer            yes                          yes                          yes                            y                                 370 Sanofi‐Aventis U.S. LLC
  5/2/2021 Johnston v. Kashi Sales, L.L.C.             ilsdc     3:2021cv00441   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370
           Oldrey v. Nestle Waters North America,
  5/2/2021 Inc.                                        nysdc     7:2021cv03885   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
 5/11/2021 Barnett v. Frito‐Lay North America, Inc.    ilsdc     3:2021cv00470   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 5/15/2021 Greco v. Moran Foods, LLC                   nyndc     5:2021cv00562   yes                           Answer                        n/a                          n/a                          n/a                            y                                 370
 5/16/2021 Gilker v. Chobani, LLC                      ilsdc     3:2021cv00488   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 5/19/2021 Wienhoff v. Conagra Brands, Inc.            ilsdc     3:2021cv00501   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Williams v. Molson Coors Beverage
 5/22/2021 Company                                     ilndc     3:2021cv50207   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 5/31/2021 Floyd v. Pepperidge Farm, Incorporated      ilsdc     3:2021cv00525   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

  6/2/2021 Saldivar v. Nestle USA Inc.                 candc     3:2021cv04162   no                            n/a                           n/a                          n/a                          n/a                            n                                 370

  6/2/2021 Javed v. Fairlife LLC                       candc     3:2021cv04182   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

  6/3/2021 Tedeschi v. Diageo North America, Inc.      nysdc     1:2021cv04940   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
  6/5/2021 Ross v. Target Corporation                  ilndc     1:2021cv03028   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 6/10/2021 Hiltz v. Inventure Foods, Inc.              ilndc     1:2021cv03140   yes                           Answer                        n/a                          n/a                          n/a                            y                                 370
 6/11/2021 Schrode v. Arizona Beverages USA LLC        ilndc     1:2021cv03159   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Hodges et al v. King's Hawaiian Bakery
 6/11/2021 West, Inc.                                  candc     4:2021cv04541   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370

 6/12/2021 Dwyer v. Allbirds, Inc.                     nysdc     7:2021cv05238   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 6/14/2021 Shephard v. Affirm Holdings, Inc.           nysdc     7:2021cv05241   yes                           Motion to Compel Arbitration yes                           yes                          no                             y                                 370

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                                                                                                                                                                                                       Did any part of the Complaint
                                                                                 Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed Name                                     Court        Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes
           Warren v. Whole Foods Market California,
 6/15/2021 Inc.                                     candc        3:2021cv04577   yes                           Motion to Dismiss             yes                          no                           yes                            n                                 370

 6/19/2021 Adams v. Tops Markets, LLC                  nywdc     1:2021cv00753   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 6/20/2021 Elder v. Bimbo Bakeries USA, Inc.           ilsdc     3:2021cv00637   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

 6/23/2021 Spurck v. Demet's Candy Company, LLC        nysdc     7:2021cv05506   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 6/24/2021 Smith v. Frito‐Lay North America, Inc.    candc       3:2021cv04863   no                            n/a                           n/a                          n/a                          n/a                            n                                 370
 6/28/2021 Zurliene v. Dreyers Grand Ice Cream, Inc. ilsdc       3:2021cv00747   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 6/29/2021 Gierwatowski v. Trader Joe's Company        candc     4:2021cv05024   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Lichtinger v. The Procter & Gamble
 6/30/2021 Company                                     nysdc     7:2021cv05646   yes                           Motion to Dismiss             n/a                          n/a                          n/a                            n                                 370 consolidated with 7:21‐cv‐00186
           Keirsted v. The Proctor & Gamble
 6/30/2021 Company                                     nysdc     7:2021cv05648   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370 consolidated with 7:21‐cv‐00186
  7/1/2021 Chiappetta v. Kellogg Sales Company         ilndc     1:2021cv03545   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
  7/3/2021 Vesota v. Aldi Inc.                         ilndc     1:2021cv03574   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
  7/5/2021 Rudy v. Family Dollar Stores, Inc.          ilndc     1:2021cv03575   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

  7/6/2021 Ferguson v. Tropicale Foods, LLC            nyedc     1:2021cv03775   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 7/11/2021 Shelton v. Kraft Heinz Foods Company        ilsdc     3:2021cv00799   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 7/12/2021 Austin et al v. Chobani, LLC                nysdc     7:2021cv05949   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 7/13/2021 Ivory v. Nestle USA, Inc.                   ilcdc     1:2021cv01193   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 7/14/2021 Rocha v. Perry Ellis International, Inc.    ilndc     3:2021cv50278   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
                                                                                                                                                                                                                                                                            4:21‐cv‐01942 ‐ Ablaza, et al. v.
 7/15/2021 Fuller v. Chattem, Inc.                     candc     4:2021cv05436   yes                           Motion to Transfer            yes                          yes                          yes                            y                                 370 Sanofi‐Aventis U.S. LLC
           Mitchell, Jr. v. Ricoh Imaging Americas
 7/17/2021 Corporation                                 codc      1:2021cv01949   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 7/17/2021 Karlinski v. Costco Wholesale Corporation   ilndc     1:2021cv03813   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
 7/18/2021 Rice v. Dreyer's Grand Ice Cream, Inc. et   ilndc     1:2021cv03814   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 7/20/2021 Steinberg v. Icelandic Provisions, Inc.     candc     3:2021cv05568   yes                           Motion to Dismiss             yes                          yes                          no                             n                                 370
                                                                                                                                                                                                                                                                            4:21‐cv‐01942 ‐ Ablaza, et al. v.
 7/20/2021 Cruz v. Sanofi US Corporation               candc     4:2021cv05536   yes                           Motion to Transfer            yes                          yes                          yes                            y                                 370 Sanofi‐Aventis U.S. LLC
 7/22/2021 Botterill v. Food Lion, LLC                 mddc      1:2021cv01835   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 7/23/2021 Bazzano v. Toyota Motor Sales, U.S.A.,      mddc      1:2021cv01849   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 7/24/2021 Rudy v. D F Stauffer Biscuit Co Inc         ilndc     1:2021cv03938   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
 7/29/2021 Cashman v. Ferrara Candy Company            ilndc     1:2021cv04033   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 8/12/2021 Ross v. Ralph Lauren Corporation            flmdc     6:2021cv01295   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370
           Phillips v. Johnson & Johnson Consumer
 8/15/2021 Inc.                                        nysdc     1:2021cv06866   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 8/16/2021 Harris v. Kashi Sales, L.L.C.               ilndc     3:2021cv50376   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370
 8/21/2021 Harris v. Kellogg Sales Company             ilsdc     3:2021cv01040   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
 8/23/2021 Reinitz v. Kellogg Sales Company            ilcdc     1:2021cv01239   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
 8/23/2021 Bartosiake v. Bimbo Bakeries USA, Inc.      ilndc     1:2021cv04495   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
 8/24/2021 Lederman v. The Hershey Company             ilndc     1:2021cv04528   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

 8/29/2021 Angeles v. Nestl USA, Inc.                  nysdc     1:2021cv07255   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Aitana Vargas et al v. Elanco Animal
  9/1/2021 Health Incorporated                         ilndc     1:2021cv04476   yes                           Motion to Transfer            yes                          yes                          yes                            n                                 370

  9/2/2021 Corbett v. Walmart Inc.                     jpmldc    1:2021cv00996   n/a                           n/a                           n/a                          n/a                          n/a                            y                                 370

  9/2/2021 Corbett v. Walmart Inc.                     nywdc     1:2021cv00996   yes                           Motion to Transfer            yes                          yes                          yes                            y                                 370
  9/3/2021 Akers v. Costco Wholesale Corporation       ilsdc     3:2021cv01098   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
  9/3/2021 Burns v. General Mills Sales, Inc.          ilsdc     3:2021cv01099   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
  9/4/2021 Huston v. Conagra Brands, Inc.              ilcdc     4:2021cv04147   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370

  9/5/2021 Sobel v. Molekule, Inc.                     nyedc     1:2021cv04992   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Read v. Anheuser‐Busch Inbev Worldwide
 9/11/2021 Inc.                                        ilcdc     1:2021cv01261   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 9/17/2021 Coglianese v. Banana Republic, LLC          ilndc     1:2021cv04959   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
 9/18/2021 Sanders v. The Hillshire Brands Company     ilsdc     3:2021cv01155   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

 9/18/2021 Valcarcel v. Ahold U.S.A., Inc.             nysdc     1:2021cv07821   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

 9/19/2021 Cota v. Ralph Lauren Corporation            wiedc     1:2021cv01089   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
 9/23/2021 Hauger v. Dollar General Corporation        ilcdc     1:2021cv01270   yes                           Motion to Dismiss             yes                          yes                          no                             y                                 370
           Argenbright v. Bob's Discount Furniture,
 9/26/2021 LLC et al                                   ilndc     1:2021cv05082   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 9/27/2021 Strow v. B&G Foods, Inc.                    ilndc     1:2021cv05104   yes                           Motion to Dismiss             yes                          no                           yes                            y                                 370

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                                                                                                                                                                                                      Did any part of the Complaint
                                                                                Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed   Name                                     Court     Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes

 10/1/2021 Kelly v. Kasim International Corporation   nysdc     1:2021cv08134   yes                           Motion to Dismiss              yes                         no                           yes                            y                                 370
 10/2/2021 Jackson v. Kraft Heinz Foods Company       ilndc     1:2021cv05219   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370
 10/5/2021 Khaimova v. Anheuser‐Busch, LLC            ilndc     1:2021cv05268   no                            n/a                            n/a                         n/a                          n/a                            y                                 370

 10/8/2021 Castle v. The Kroger Co                    wiedc     2:2021cv01171   yes                           Motion to Dismiss              yes                         no                           yes                            y                                 370
           Mogollon v. Costco Wholesale
10/10/2021 Corporation                                nysdc     1:2021cv08361   no                            n/a                            n/a                         n/a                          n/a                            y                                 370

10/13/2021 Ali v. 7‐ELEVEN, INC                       jpmldc    1:2021cv23588   n/a                           n/a                            n/a                         n/a                          n/a                            n                                 370
10/13/2021 Ali v. 7‐ELEVEN, INC                       flsdc     1:2021cv23588   n/a                           n/a                            n/a                         n/a                          n/a                            n                                 370
10/16/2021 Quinn v. Trader Joe's Company              ilndc     1:2021cv05513   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
10/17/2021 Cerretti v. Whole Foods Market Group,      ilndc     1:2021cv05516   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

10/19/2021 Russett v. Kellogg Sales Company           nysdc     7:2021cv08572   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370
10/19/2021 Troutt v. Mondelez Global LLC              ilsdc     3:2021cv01279   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370
10/24/2021 Kuciver v. Fermented Sciences, Inc.        ilndc     1:2021cv05668   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

10/28/2021 Hawkins v. The Coca‐Cola Company           nysdc     7:2021cv08788   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

10/30/2021 Dildine v. 7‐Eleven, Inc.                  nywdc     6:2021cv06668   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
           OLeary v. The Stop & Shop Supermarket
 11/1/2021 Company LLC                                nysdc     7:2021cv08918   no                            n/a                            n/a                         n/a                          n/a                            y                                 370

 11/5/2021 Washington v. Uber Technologies, Inc.      nysdc     1:2021cv09157   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
 11/6/2021 Kuciver v. KSF Acquisition Corporation     ilndc     1:2021cv05964   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
           Almanzar v. The Procter & Gamble
 11/7/2021 Company                                    nysdc     1:2021cv09196   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

11/11/2021 Devey v. Big Lots, Inc.                    nywdc     6:2021cv06688   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

11/14/2021 Ithier v. 7‐Eleven, Inc.                   nysdc     7:2021cv09405   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
11/14/2021 Spell v. Inventure Foods, Inc.             ilsdc     3:2021cv01426   no                            n/a                            n/a                         n/a                          n/a                            y                                 370

11/15/2021 Cawley v. KSF Acquisition Corporation      nysdc     7:2021cv09421   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                 370
           Bondick v. Ricoh Imaging Americas
11/16/2021 Corporation                                ilndc     1:2021cv06132   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

11/19/2021 Baron et al. v. Amazon Inc.                nysdc     1:2021cv09636   no                            n/a                            n/a                         n/a                          n/a                            n                                 370
11/19/2021 Fleming v. Del Monte Foods, Inc.           ilsdc     3:2021cv01462   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
11/20/2021 Conner v. Abbott Laboratories Inc.         ilsdc     3:2021cv01463   yes                           Motion to Dismiss              yes                         no                           yes                            y                                 370

11/21/2021 Hoffman v. Kashi Sales, L.L.C.             nysdc     7:2021cv09642   yes                           Motion to Dismiss              yes                         no                           yes                            y                                 370

11/25/2021 Martelli v. Rite Aid Corporation           nysdc     7:2021cv10079   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

11/28/2021 Leonard v. Mondelez Global LLC             nysdc     1:2021cv10102   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 360
11/28/2021 DeMaso v. Walmart Inc.                     ilndc     1:2021cv06334   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

 12/4/2021 Carrano v. Oka Products, LLC               nyedc     2:2021cv06730   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
 12/4/2021 Swanberg v. Trader Joe's Company           ilndc     1:2021cv06496   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
           Foster v. Nestle Health Science US
12/12/2021 Holdings, Inc.                             ilcdc     1:2021cv01360   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
           Benjamin et al v. The Hartz Mountain
12/18/2021 Corporation                                ilndc     3:2021cv50473   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
12/22/2021 Hancock v. Arizona Beverages USA LLC       ilsdc     3:2021cv01735   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
12/24/2021 Wilim v. Mondelez Global LLC               ilndc     1:2021cv06855   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
12/25/2021 Lopez et al v. Amazon.com Inc              ilcdc     2:2021cv02317   yes                           Motion to Compel Arbitration   yes                         yes                          no                             y                                 370
  1/1/2022 Jacobs v. Whole Foods Market Group, Inc.   ilndc     1:2022cv00002   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370
  1/2/2022 Brown v. S. C. Johnson & Son, Inc.         ilndc     3:2022cv50001   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

  1/3/2022 Vazquez v. Snyders‐Lance, Inc.             nyedc     1:2022cv00026   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
  1/4/2022 Moreland v. Walmart Inc.                   ilcdc     2:2022cv02002   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 1/13/2022 Vivar v. Apple Inc.                        nysdc     1:2022cv00347   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

 1/14/2022 Clemmons v. Upfield US Inc.                nysdc     1:2022cv00355   yes                           Motion to Dismiss              yes                         no                           yes                            y                                 370

 1/15/2022 Hoffman v. Kraft Heinz Foods Company       nysdc     7:2022cv00397   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370

 1/16/2022 Williamson v. Dyla LLC                     nysdc     1:2022cv00402   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
 1/16/2022 Gouwens v. Target Corporation              ilndc     3:2022cv50016   yes                           Motion to Dismiss              yes                         yes                          no                             y                                 370
 1/17/2022 Shirley v. Reynolds Consumer Products      ilndc     1:2022cv00278   yes                           Motion to Dismiss              yes                         no                           yes                            y                                 370

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                                                                                                                                                                                                      Did any part of the Complaint
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Date Filed Name                                        Court    Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code            Notes
 1/19/2022 Ferguson v. E.L.F. Cosmetics, Inc.          ilcdc    4:2022cv04011   no                            n/a                          n/a                           n/a                          n/a                           n                                  370
           Williams v. PL Developments Copiague,
 1/21/2022 LLC                                         nyedc    2:2022cv00383   no                            n/a                            n/a                         n/a                          n/a                            y                                370
           Conor Woulfe et al v. Universal City
 1/21/2022 Studios LLC et al                           cacdc    2:2022cv00459   yes                           Motion to Dismiss              yes                         no                           yes                            n                                370
 1/22/2022 Haas v. Aldi Inc.                           ilndc    1:2022cv00375   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 1/22/2022 Cox v. Star Brands North America, Inc.      ilsdc    3:2022cv00141   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 1/25/2022 Kowal v. Snyder's‐Lance, Inc.               ilndc    1:2022cv00441   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 1/31/2022 Ali v. 7‐Eleven, Inc.                       jpmldc   1:2022cv20328   n/a                           n/a                            n/a                         n/a                          n/a                            n                                370
 1/31/2022 Ali v. 7‐Eleven, Inc.                       flsdc    1:2022cv20328   yes                           Motion to Transfer             yes                         yes                          yes                            n                                370
  2/4/2022 Dahl v. Elanco Animal Health                mtdc     4:2022cv00011   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                370
  2/4/2022 Alexander v. BlueTriton Brands, Inc.        ilndc    1:2022cv00648   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370
  2/4/2022 Matthews v. Polar Corp.                     ilndc    1:2022cv00649   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
  2/5/2022 Surratt v. CVS Pharmacy, Inc.               ilndc    1:2022cv00650   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370
  2/6/2022 Crawford v. Arizona Beverages USA LLC       ilsdc    3:2022cv00220   yes                           Motion to Dismiss              yes                         no                           yes                            y                                370
 2/14/2022 Amara v. Publix Supermarkets, Inc.          flmdc    8:2022cv00367   yes                           Motion to Dismiss              yes                         yes                          no                             n                                370
 2/21/2022 Inouye v. Adidas America, Inc.              flmdc    8:2022cv00416   yes                           Motion to Dismiss              yes                         yes                          no                             n                                370
 2/26/2022 Hamidani v. Bimbo Bakehouse LLC             ilndc    1:2022cv01026   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370

  3/3/2022 Tapia v. The Coca‐Cola Company              candc    4:2022cv01362   yes                           Motion to Dismiss              yes                         no                           yes                            n                                370
           Nic Dahlquist v. Samsung Electrionics
  3/4/2022 America, Inc.                               candc    5:22‐cv‐00402   no                            n/a                            n/a                         n/a                          n/a                            n                                370
  3/6/2022 Sneed v. Ferrero U.S.A., Inc.               ilndc    1:2022cv01183   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 3/10/2022 Gardner v. Ferrara Candy Company            ilndc    1:2022cv01272   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 3/14/2022 McCall v. Publix Super Markets, Inc.        flmdc    8:2022cv00584   yes                           Motion to Dismiss              yes                         no                           yes                            n                                370

 3/16/2022 Hite v. Unilever United States, Inc.        nysdc    7:2022cv02188   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 3/18/2022 Wheeler v. The Topps Company, Inc.          nysdc    1:2022cv02264   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 3/21/2022 WHEELER v. PANINI AMERICA, INC.             dcdc     1:2022cv00763   yes                           Motion to Dismiss              yes                         yes                          no                             n                                370
 3/22/2022 Raczkowski v. Pinnacle Foods Inc            ilcdc    2:2022cv02061   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 3/23/2022 Smith v. General Mills Sales, Inc.          ilndc    1:2022cv01529   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 3/24/2022 McDermott v. General Mills Sales, Inc.      ilndc    1:2022cv01555   yes                           Motion to Stay (joint)         yes                         yes                          n/a                            y                                370
 3/26/2022 Harmon v. Pharmavite LLC                    ilndc    3:2022cv50091   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 3/27/2022 Clark v. Blue Diamond Growers               ilndc    1:2022cv01591   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370

 3/28/2022 In re Amazon Prime Video Litigation         wawdc    2:2022cv00401   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                370
 3/28/2022 Ledezma v. Upfield US Inc.                  ilndc    1:2022cv01618   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370

  4/4/2022 Baron et al v. Amazon Inc                   wawdc    2:2022cv00446   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                370
  4/4/2022 Potthoff v. Bob's Discount Furniture, LLC   ilndc    1:2022cv01722   yes                           Motion to Compel Arbitration   yes                         yes                          no                             y                                370
  4/6/2022 Cristia v. Trader Joe's Company             ilndc    1:2022cv01788   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
  4/9/2022 Calixte v. Walgreen Co.                     ilndc    1:2022cv01855   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 4/16/2022 Biczo v. Ferrara Candy Company              ilndc    1:2022cv01967   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370

 4/17/2022 Nelson v. Gskill USA, Inc.                  nywdc    6:2022cv06175   yes                           Motion to Stay                 no                          n/a                          n/a                            y                                370
 4/24/2022 Melvan v. General Mills Sales, Inc.         ilndc    1:2022cv02114   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370
 4/26/2022 Goldstein v. Beliv, LLC.                    flsdc    9:22‐cv‐80643   yes                           Motion to Stay                 yes                         yes                          n/a                            n                                370
  5/8/2022 Davis v. Ricola USA, Inc.                   ilcdc    3:2022cv03071   yes                           Motion to Dismiss              yes                         no                           yes                            y                                370
           Eyzaguirre v. Molson Coors Beverage
 5/11/2022 Company USA                                 flsdc    0:2022cv60889   no                            n/a                            n/a                         n/a                          n/a                            n                                370

 5/11/2022 Howze v. Mondelez Global LLC                nywdc    1:2022cv00351   yes                           Motion to Dismiss              yes                         yes                          no                             y                                370
 5/13/2022 Valiente v. StockX Inc.                     flsdc    1:2022cv21489   no                            n/a                            n/a                         n/a                          n/a                            n                                370

 5/14/2022 Van Orden v. Hikari Sales U.S.A., Inc.      nyndc    1:2022cv00504   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370
 5/16/2022 Valiente v. Unilever United States, Inc.    flsdc    1:2022cv21507   yes                           Motion to Dismiss              yes                         no                           yes                            n                                370
 5/22/2022 Brown v. Zamora Company USA, LLC            ilndc    1:2022cv02703   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 5/22/2022 Miramontes v. Ralph Lauren Corporation nysdc         1:2022cv04192   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370
 5/23/2022 Lee v. The Kroger Co.                  ilsdc         3:2022cv01086   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 5/26/2022 Duchnik v. Tops Market, L.L.C.              nywdc    1:2022cv00399   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370
                                                                                                              Motion to Dismiss/Motion to
 5/26/2022 Chung v. Illuminate Education, Inc.         nyedc    1:2022cv03110   yes                           Transfer                       no                          n/a                          yes                            y                                370
 5/29/2022 Hunt v. General Mills Sales, Inc.           ilndc    1:2022cv02835   no                            n/a                            n/a                         n/a                          n/a                            y                                370

  6/2/2022 Ali v. 7‐Eleven, Inc.                       candc    3:2022cv03240   n/a                           n/a                            n/a                         n/a                          n/a                            n                                370
           Bruno v. American Textile Company,
  6/4/2022 Incorporated                                ilndc    1:2022cv02937   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                370

  6/6/2022 Hogan v. PointsBet New York LLC             nyndc    1:2022cv00594   no                            n/a                            n/a                         n/a                          n/a                            y                                370

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                                                                                                                                                                                                     Did any part of the Complaint
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  6/6/2022 Coe v. The Coca‐Cola Company                nywdc   1:2022cv00430   yes                           Motion to Compel Arbitration no                            n/a                          n/a                            y                                 370

 6/12/2022 Hong v. Church & Dwight Co. Inc.            nyedc   1:2022cv03459   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 190
 6/14/2022 Garza v. Nestle USA, Inc.                   ilndc   1:2022cv03098   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
           English v. Danone North America Public
 6/17/2022 Benefit Corporation                         nysdc   7:2022cv05105   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 6/19/2022 Nastali v. Dollar General Corporation       ilndc   3:2022cv50212   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 6/20/2022 Cheah v. Pepperidge Farm, Incorporated      nyedc   2:2022cv03633   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
           Kenneth Wong v. Bobs Discount
 6/20/2022 Furniture, LLC                              cacdc   2:2022cv04220   yes                           Motion to Compel Arbitration   yes                         yes                          no                             n                                 370
 6/24/2022 CUMMINGS v. BLUE DIAMOND GROWERS            flndc   1:2022cv00141   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                 370
 6/24/2022 Adams v. The Kraft Heinz Company            flmdc   5:22‐cv‐00290   yes                           Motion to Dismiss              yes                         no                           yes                            n                                 190
 6/29/2022 Hodorovych v. Dollar General Corporation    ilndc   1:2022cv03415   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 6/30/2022 Novotney v. Walgreen Co.                    ilndc   1:2022cv03439   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  7/1/2022 Knautz v. Walmart Inc.                      ilndc   3:2022cv50236   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  7/2/2022 Abron v. Vi‐Jon, LLC                        ilndc   3:2022cv50238   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  7/3/2022 Leshchiner v. Kellogg Sales Company         ilndc   1:2022cv03464   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  7/5/2022 Guzman v. Walmart Inc.                      ilndc   1:2022cv03465   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 7/18/2022 Feldman v. Wakefern Food Corp.              nysdc   7:2022cv06089   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 7/21/2022 Vazquez v. Walmart, Inc.                    nysdc   1:2022cv06215   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 7/23/2022 Lebaron v. Frey Brothers, Inc.              nysdc   1:2022cv06262   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
 7/25/2022 Karney v. Kashi Sales, LLC                  flsdc   1:2022cv22325   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                 370

 7/26/2022 Smith v. Adidas America, Inc.               nyndc   6:2022cv00788   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 7/31/2022 Acosta v. Hopper (USA), Inc.                ilndc   1:2022cv03974   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

  8/1/2022 Solak v. Target Corporation                 nyndc   3:2022cv00813   yes                           Motion to Dismiss            no                            n/a                          n/a                            y                                 370
  8/2/2022 Valiente v. StockX, Inc.                    flsdc   1:2022cv22432   yes                           Motion to Compel Arbitration yes                           yes                          no                             n                                 370

  8/5/2022 Brockington v. Dollar General Corporation nysdc     1:2022cv06666   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  8/7/2022 Baker v. Walmart Inc.                     ilcdc     3:2022cv03148   no                            n/a                            n/a                         n/a                          n/a                            y                                 370

  8/8/2022 Reyes v. Upfield US Inc.                    nysdc   7:2022cv06722   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 8/11/2022 Borovoy v. Mark Anthony Brands Inc.         ilndc   1:2022cv04251   no                            n/a                            n/a                         n/a                          n/a                            y                                 370

 8/13/2022 Avigne et al v. The Kroger Co.              miedc   2:2022cv11889   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 8/14/2022 Gallagher v. Lactalis American Group, Inc. nywdc    1:2022cv00614   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 8/14/2022 Warren v. The Coca‐Cola Company             nysdc   7:2022cv06907   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 8/15/2022 Van Allen v. Fermented Sciences, Inc.       flmdc   8:2022cv01867   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                 370

 8/19/2022 Pijacki v. The Procter & Gamble Company nywdc       1:2022cv00624   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 8/19/2022 Taylor v. Procter & Gamble Company      ilsdc       3:2022cv01949   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 8/20/2022 Cosgrove v. Kashi Sales L.L.C.              miwdc   1:2022cv00760   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 8/20/2022 Lee v. Panera Bread Company                 miedc   1:2022cv11958   yes                           Motion to Compel Arbitration   yes                         yes                          no                             y                                 370
 8/21/2022 Sumner v. Kroger Co.                        ilsdc   3:2022cv01950   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 8/23/2022 Dawood v. Silk Operating Company LLC        codc    1:2022cv02169   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
 8/23/2022 Sarah Chung v. Illuminate Education, Inc.   cacdc   8:2022cv01547   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 8/25/2022 Braaten v. Apple, Inc.                      candc   3:2022cv04861   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                 370

 8/27/2022 Lester v. CVS Pharmacy, Inc.                nysdc   1:2022cv07334   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

 8/28/2022 Lumbra v. Suja Life, LLC                    nyndc   1:2022cv00893   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
 8/31/2022 Paulson v. This is L. Inc.                  ilndc   1:2022cv04665   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  9/2/2022 Smith v. The Coca‐Cola Company              flsdc   0:2022cv61643   yes                           Motion to Dismiss              no                          n/a                          n/a                            n                                 370

  9/2/2022 Greco v. TikTok, Inc.                       nyndc   5:2022cv00916   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  9/3/2022 Hunt v. Greenbrier International, Inc.      ilndc   1:2022cv04742   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
  9/4/2022 Agee v. The Kroger Co.                      ilndc   1:2022cv04744   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  9/4/2022 Suarez v. Conagra Brands, Inc.              ilndc   1:2022cv04743   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370
  9/5/2022 Moore v. Kellogg Sales Company              ilcdc   3:2022cv03172   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

  9/6/2022 Henderson v. Conagra Brands, Inc.           nysdc   1:2022cv07603   no                            n/a                            n/a                         n/a                          n/a                            y                                 370
  9/8/2022 Fleming v. Dr. Squatch, LLC                 ilndc   1:2022cv04842   yes                           Motion to Dismiss              no                          n/a                          n/a                            y                                 370

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                                                          Case: 1:22-cv-01272 Document #: 29-1 Filed: 04/11/23 Page 12 of 14 PageID #:175
                                                                                                                                                                                                       Did any part of the Complaint
                                                                               Did Defendant(s) respond to   How did Defendant(s) respond   Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to         Filed by Plaintiff's   Nature of Suit
Date Filed Name                                       Court    Number          Complaint?                    to Complaint?                  Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration?     Counsel?               Code            Notes
  9/9/2022 Wilim v. 7‐Eleven, Inc.                    ilndc    1:2022cv04886   no                            n/a                            n/a                           n/a                          n/a                             y                                  370
 9/10/2022 Devane v. Instant Brands LLC               ilndc    1:2022cv04900   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                  370
           GRASTY v. ASHLEY FURNITURE
 9/13/2022 INDUSTRIES LLC                             flndc    4:2022cv00334   no                            n/a                            n/a                           n/a                          n/a                             y                                 370
 9/14/2022 Valiente v. Publix Super Markets, Inc.     flsdc    1:2022cv22930   yes                           Motion to Dismiss              no                            n/a                          n/a                             n                                 370
 9/15/2022 Palmer v. The Procter & Gamble Company     ilndc    1:2022cv05036   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
           Dukas v. Koninklijke Luchtvaart
 9/17/2022 Maatschappij, N.V.                         nysdc    1:2022cv07962   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
 9/18/2022 Barnett v. Schwan's Consumer Brands,       ilsdc    3:2022cv02178   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
 9/21/2022 Goldstein v. Nonni's Foods LLC             flsdc    9:2022cv81462   yes                           Motion to Dismiss              yes                           yes                          no                              n                                 370

 9/23/2022 Lee v. Walmart Inc.                        miedc    1:2022cv12258   no                            n/a                            n/a                           n/a                          n/a                             y                                 370

 9/25/2022 Vaglica v. Reckitt Benckiser LLC           nyedc    2:2022cv05730   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
 9/27/2022 Forlenza v. Herr Foods Incorporated        ilndc    1:2022cv05278   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

 10/1/2022 Benzin v. Nestle Healthcare Nutrition, Inc. nywdc   1:2022cv00747   no                            n/a                            n/a                           n/a                          n/a                             y                                 370

 10/3/2022 Oyler v. NFL Enterprises LLC               nysdc    1:2022cv08413   no                            n/a                            n/a                           n/a                          n/a                             y                                 370
 10/6/2022 Wright v. Walmart Inc.                     ilsdc    3:2022cv02311   yes                           Motion to Dismiss              no                            n/a                          yes                             y                                 370

 10/7/2022 Velez v. Lasko Products, LLC               nysdc    1:2022cv08581   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
 10/9/2022 Carmen v. Zesty Paws LLC                   ilndc    1:2022cv05529   no                            n/a                            n/a                           n/a                          n/a                             y                                 370

10/10/2022 Davis v. The Pur Company (USA) Inc.        nywdc    6:2022cv06430   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

10/11/2022 McMenamy v. Nestle USA, Inc.               nyndc    5:2022cv01053   no                            n/a                            n/a                           n/a                          n/a                             y                                 370
10/15/2022 Martinez v. Unilever United States, Inc.   ilndc    1:2022cv05664   no                            n/a                            n/a                           n/a                          n/a                             y                                 370

10/17/2022 Alexandre v. Alcon Laboratories, Inc.      nysdc    7:2022cv08859   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
10/19/2022 Craw v. The Clorox Company                 ilcdc    2:2022cv02225   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

10/19/2022 Bolling v. Bobs Discount Furniture, LLC    nyedc    2:2022cv06312   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 371
10/21/2022 Buechler v. Albertsons Companies, Inc.     mddc     1:2022cv02717   no                            n/a                            n/a                           n/a                          n/a                             y                                 370
10/23/2022 Hopkins v. Dell Technologies, Inc.         ilsdc    3:2022cv02464   yes                           Motion to Compel Arbitration   no                            n/a                          n/a                             y                                 370
10/24/2022 Jackson‐Dorsey v. Conagra Brands, Inc.     ilndc    1:2022cv05863   no                            n/a                            n/a                           n/a                          n/a                             y                                 370
10/25/2022 Hernandez v. HP Inc.                       flsdc    1:2022cv23482   yes                           Motion to Dismiss              yes                           yes                          no                              n                                 370

10/27/2022 Weeks v. Authentic Brands Group Inc.       nysdc    1:2022cv09223   yes                           Motion to Dismiss            no                              n/a                          n/a                             y                                 370
10/28/2022 Lesorgen v. Mondelez Global LLC            ilndc    3:2022cv50375   yes                           Motion to Dismiss            no                              n/a                          n/a                             y                                 370
10/31/2022 McCall v. Acer America Corporation         alndc    2:2022cv01390   yes                           Motion to Compel Arbitration no                              n/a                          n/a                             n                                 370
           Joseph Musharbash v. Sony Electronics,
 11/1/2022 Inc.                                       cacdc    2:22‐cv‐07963   no                            n/a                            n/a                           n/a                          n/a                             n                                 370
           GIBSON v. EAGLE FAMILY FOODS GROUP
 11/4/2022 LLC                                        insdc    1:2022cv02147   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
           DiBenedetto v. Hard Rock Cafe
 11/5/2022 International (USA), Inc.                  nyedc    2:2022cv06759   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

 11/6/2022 Teran v. CVS Pharmacy, Inc.                nysdc    1:2022cv09486   no                            n/a                            n/a                           n/a                          n/a                             y                                 370

 11/8/2022 Indiviglio v. B&G Foods, Inc.              nysdc    7:2022cv09545   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
11/10/2022 Jackson v. PIM Brands, Inc.                alndc    2:2022cv01433   yes                           Motion to Dismiss              no                            n/a                          n/a                             n                                 370

11/11/2022 Finster v. Sephora USA Inc.                nyndc    6:2022cv01187   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

11/13/2022 Brownell v. Starbucks Coffee Company       nyndc    5:2022cv01199   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
11/14/2022 Redmond v. Upfield US Inc.                 ilndc    1:2022cv06334   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370
           Inong v. Fujifilm North America
11/15/2022 Corporation                                nysdc    7:2022cv09720   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

11/16/2022 Barnes v. Big Lots, Inc.                   nysdc    7:2022cv09782   yes                           Answer                         n/a                           n/a                          yes                             y                                 370
           Fuller v. The Stop & Shop Supermarket
11/17/2022 Company LLC                                nysdc    7:2022cv09824   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

11/18/2022 Abbott v. Golden Grain Company             moedc    4:22‐cv‐01240   yes                           Motion to Dismiss              no                            n/a                          n/a                             n                                 195
11/18/2022 Ramirez v. Kraft Heinz Foods Company       flsdc    1:2022cv23782   yes                           Motion to Dismiss              no                            n/a                          n/a                             n                                 370

11/20/2022 Yang v. Johnson & Johnson Consumer Inc. nyedc       1:2022cv07070   no                            n/a                            n/a                           n/a                          n/a                             y                                 370

11/21/2022 Donadio v. Bayer HealthCare LLC            nywdc    6:2022cv06521   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370

11/22/2022 Dinwiddie v. Lenovo (United States) Inc.   miwdc    2:2022cv00218   yes                           Motion to Dismiss              no                            n/a                          n/a                             y                                 370


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                                                              Case: 1:22-cv-01272 Document #: 29-1 Filed: 04/11/23 Page 13 of 14 PageID #:176
                                                                                                                                                                                                       Did any part of the Complaint
                                                                                 Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed   Name                                     Court      Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code              Notes

11/23/2022 Bridges v. Meijer, Inc.                    miwdc      1:2022cv01112   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Hengel v. Edgewell Personal Care Brands,
11/25/2022 LLC                                        ilsdc      3:2022cv02741   no                            n/a                           n/a                          n/a                          n/a                            y                                 440
           Adeghe v. The Procter & Gamble
11/25/2022 Company                                    nysdc      7:2022cv10025   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Thomas v. The Procter & Gamble
11/26/2022 Company                                    nywdc      1:2022cv00914   yes                           Motion to Dismiss            no                            n/a                          n/a                            y                                 370
11/27/2022 Ballotti v. Beiersdorf, Inc.               ilndc      3:2022cv50408   no                            n/a                          n/a                           n/a                          n/a                            y                                 370
11/28/2022 Volinsky v. Acer America Corporation       flmdc      8:2022cv02704   yes                           Motion to Compel Arbitration yes                           yes                          no                             n                                 370
           Lancaster v. American Textile Company,
 12/1/2022 Incorporated                               nyndc      1:2022cv01280   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 12/3/2022 Sheiner v. Supervalu Inc.                  nysdc      7:2022cv10262   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 12/4/2022 Green v. Meijer, Inc.                      wiedc      2:2022cv01444   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 12/6/2022 Medina v. Costco Wholesale Corporation nyedc          1:2022cv07388   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 12/7/2022 Singo v. Ricola USA, Inc.                  nysdc      7:2022cv10369   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 12/8/2022 MAIOLO v. BRP US INC.                      pawdc      2:2022cv01770   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

12/12/2022 Krivca v. CVS Pharmacy, Inc.               nysdc      1:2022cv10468   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
12/12/2022 Pautz v. Heineken USA Incorporated         ilsdc      3:2022cv02911   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Nootens v. Molson Coors Beverage
12/13/2022 Company                                    ilndc      1:2022cv07010   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370
           Dedloff v. Whole Foods Market Group,
12/14/2022 Inc.                                       moedc      4:22‐cv‐01340   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370
           Solak v. Prestige Consumer Healthcare
12/16/2022 Inc.                                       nyndc      3:2022cv01357   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
12/17/2022 COLLINS v. WAFFLE HOUSE, INC.              flndc      5:2022cv00295   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Jasper v. Danone North America Public
12/19/2022 Benefit Corporation                        ilndc      1:2022cv07122   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

12/21/2022 Bell v. Annie's, Inc.                      moedc      4:22‐cv‐01367   yes                           Motion to Dismiss             no                           n/a                          n/a                            n                                 370

12/22/2022 Smith v. Bed Bath & Beyond Inc.            nysdc      7:2022cv10836   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

12/22/2022 Diesel v. Mariani Packing Company, Inc.    moedc      4:22‐cv‐01368   yes                           Answer                        n/a                          n/a                          n/a                            n                                 370

12/23/2022 Mao v. Diageo North America, Inc.          nysdc      1:2022cv10847   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

12/24/2022 Morales v. Apple Inc.                      nysdc      1:2022cv10872   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Lewis v. Samsung Electronics America,
12/26/2022 Inc.                                       nysdc      1:2022cv10882   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
12/27/2022 Steines v. Apple, Inc.                     ilsdc      3:2022cv03099   yes                           Motion to Dismiss             no                           n/a                          n/a                            y                                 370

12/30/2022 Halim v. Kind LLC                          nysdc      1:2022cv10979   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           MARTIN v. SCHWANS CONSUMER
12/31/2022 BRANDS, INC.                               flndc      4:2022cv00469   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

  1/2/2023 Forbes v. Kraft Heinz Foods Company        nysdc      1:2023cv00007   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
  1/7/2023 Marquez v. Sazerac Company, Inc.           ilndc      1:2023cv00097   yes                           Motion to Dismiss             yes                          no                           n/a                            y                                 370
           McDougall v. Samsung Electronics
  1/8/2023 America, Inc.                              nysdc      1:2023cv00168   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/12/2023 Rider v. Arlo Technologies, Inc.           miwdc      1:2023cv00055   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/14/2023 Charette v. Adidas America, Inc.           miedc      4:2023cv10114   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 1/16/2023 Letoski et al v. The Coca‐Cola Company     ilndc      1:2023cv00238   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/19/2023 Jones v. Kellogg Sales Company             nywdc      1:2023cv00049   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/20/2023 Perugia v. Mondelez Global LLC             nyndc      5:2023cv00069   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
           Kampmann v. The Procter & Gamble
 1/22/2023 Company                                    ilcdc      1:2023cv01021   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 1/22/2023 Tlaib v. Chattem, Inc.                     ilndc      1:2023cv00376   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

 1/24/2023 Ward v. Bespolitan Inc. et al              nywdc      1:2023cv00069   no                            n/a                           n/a                          n/a                          n/a                            y                                 370
 1/25/2023 Byers v. Aldi Inc.                         flsdc      0:2023cv60143   no                            n/a                           n/a                          n/a                          n/a                            n                                 370

 1/27/2023 Fish v. Tom's of Maine, Inc.               nyndc      6:2023cv00110   no                            n/a                           n/a                          n/a                          n/a                            y                                 370

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                                                                                                                                                                                                    Did any part of the Complaint
                                                                              Did Defendant(s) respond to   How did Defendant(s) respond Did Court issue Decision if   Did Court grant all relief   move beyond a Motion to       Filed by Plaintiff's   Nature of Suit
Date Filed Name                                      Court    Number          Complaint?                    to Complaint?                Defendant(s) filed Motion?    sought by Movant(s)?         Dismiss/Compel Arbitration? Counsel?                 Code            Notes
 1/29/2023 MCCOY v. NESTLE USA INC                   flndc    3:2023cv02218   no                            n/a                          n/a                           n/a                          n/a                           y                                  370
           Hassan v. Triborough Bridge and Tunnel
  2/4/2023 Authority et al                           nyedc    1:2023cv00873   no                            n/a                            n/a                         n/a                          n/a                            y                                370

  2/4/2023 White v. Schwans Consumer Brands Inc      wiedc    2:2023cv00147   no                            n/a                            n/a                         n/a                          n/a                            y                                370
  2/5/2023 Hawkins v. The Coca‐Cola Company          ilndc    1:2023cv00700   no                            n/a                            n/a                         n/a                          n/a                            y                                370
  2/6/2023 Jenkins v. Instant Brands LLC             mddc     1:2023cv00320   no                            n/a                            n/a                         n/a                          n/a                            y                                370
  2/6/2023 Volinsky v. Lenovo (United States) Inc.   flmdc    8:2023cv00250   yes                           Motion to Compel Arbitration   yes                         yes                          no                             n                                370

  2/8/2023 Del Rosario v. Sazerac Company, Inc.      nysdc    1:2023cv01060   no                            n/a                            n/a                         n/a                          n/a                            y                                370

  2/9/2023 Labarr v. The Epoch Times Association Inc. nysdc   1:2023cv01135   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 2/12/2023 Mentzer v. Energizer Brands LLC            ilcdc   2:2023cv02028   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 2/17/2023 Klang v. Google LLC                       nyedc    1:2023cv01316   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 2/18/2023 Batey v. GSK Consumer Health, Inc.        ilcdc    4:2023cv04031   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 2/19/2023 Valencia v. Snapple Beverage Corp.        nysdc    7:2023cv01399   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 2/19/2023 Zapadinsky v. Blue Diamond Growers        wiedc    2:2023cv00231   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 2/26/2023 Bradby v. Bimbo Bakeries USA, Inc.        mddc     1:2023cv00522   no                            n/a                            n/a                         n/a                          n/a                            y                                370
           Ellison‐Robbins v. Bimbo Bakeries USA,
 2/27/2023 Inc.                                      moedc    4:23‐cv‐00232   no                            n/a                            n/a                         n/a                          n/a                            n                                370
 2/28/2023 Howard v. Lindt & Sprungli (USA) Inc      alndc    2:2023cv00243   no                            n/a                            n/a                         n/a                          n/a                            n                                370

  3/6/2023 Quilez v. Mondelez Global LLC             nysdc    1:2023cv01889   no                            n/a                            n/a                         n/a                          n/a                            y                                370
  3/8/2023 Plummer v. Electrolux Home Products,      ctdc     3:2023cv00307   no                            n/a                            n/a                         n/a                          n/a                            n                                370
 3/11/2023 Swiatek v. CVS Pharmacy, Inc.             ilndc    1:2023cv01523   no                            n/a                            n/a                         n/a                          n/a                            y                                370
           Hangen‐Hall v. The Procter & Gamble
 3/13/2023 Company                                   nywdc    1:2023cv00218   no                            n/a                            n/a                         n/a                          n/a                            y                                370

 3/18/2023 Golston v. Bumbu Rum Company LLC          nywdc    1:2023cv00241   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 3/18/2023 Tribble v. Adidas America Inc             ilcdc    2:2023cv02060   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 3/20/2023 Rivera v. Walmart Inc.                    flmdc    8:2023cv00618   no                            n/a                            n/a                         n/a                          n/a                            n                                370
 3/20/2023 Crosby v. Church & Dwight Co. Inc.        ilndc    1:2023cv01735   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 3/23/2023 Casella v. Sam's West, Inc                tnedc    3:2023cv00102   no                            n/a                            n/a                         n/a                          n/a                            n                                370
 3/26/2023 Cheria v. Radienz Living Chicago, LLC     ilndc    1:2023cv01879   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 3/26/2023 Khait v. Comcast Corporation              ilndc    1:2023cv01877   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 3/27/2023 REYNOLDS v. MONDELEZ GLOBAL LLC           flndc    5:2023cv00087   no                            n/a                            n/a                         n/a                          n/a                            y                                370
 3/31/2023 Callahan v. The Procter & Gamble          ilndc    1:2023cv02072   no                            n/a                            n/a                         n/a                          n/a                            y                                370

  4/2/2023 Pizarro v. Sazerac Company, Inc.          nysdc    7:2023cv02751   no                            n/a                            n/a                         n/a                          n/a                            y                                370

  4/3/2023 Charles v. Church & Dwight Co. Inc.       nyedc    1:2023cv02528   no                            n/a                            n/a                         n/a                          n/a                            y                                370

  4/7/2023 Dougherty v. Kohls, Inc.                  wiedc    2:2023cv00456   no                            n/a                            n/a                         n/a                          n/a                            y                                370




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